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1                                                                               FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON


2
                                                                        Jul 21, 2021
3                         UNITED STATES DISTRICT COURT                     SEAN F. MCAVOY, CLERK


                         EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                    No. 4:21-cr-06008-SMJ-1
5                                                     4:21-cr-06008-SMJ-2
                                  Plaintiff,          4:21-cr-06008-SMJ-3
6                                                     4:21-cr-06008-SMJ-4
                   v.
7
     JONATHAN SCOTT ARD (01),                     ORDER GRANTING DEFENDANT
8    JORDIN LEMUS (02), JERROD                    HALE’S (03) MOTION TO
     JUSTIN HALE (03), and JASMINE                CONTINUE
9    MARIE CAMPBELL a/k/a “Lucas”
     (04),                                        AMENDED1 CASE
10                                                MANAGEMENT ORDER
                                  Defendants.
11

12           Before the Court, without oral argument, is Defendant Jerrod Justin Hale’s

13   (03) Motion to Continue, ECF No. 119. Defense counsel Tim Nguyen requests a

14   continuance of the pretrial motions filing deadline, the pretrial conference, and the

15   trial, to allow more time to examine discovery, prepare any related motions, and

16   prepare for trial. All Defendants support counsel’s request for a trial continuance

17   for the articulated reasons. ECF Nos. 121, 123, 124 & 125.2 Assistant U.S. Attorney

18
     1
       This Order amends and supersedes in part the Court’s March 5, 2021 Case
19   Management Order, ECF No. 46 and May 5, 2021 Amended Case Management
     Order, ECF No. 117.
20   2
       Due to the public health advisories and other restrictions imposed in response to
     the COVID-19 pandemic, the Court has permitted counsel to submit Defendants’


     AMENDED CASE MANAGEMENT ORDER – 1
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1    Stephanie Van Marter, appearing on behalf of the Government does not oppose the

2    request. ECF No. 119 at 2.

3          An Indictment was filed on March 2, 2021. ECF No. 1. Doug McKinley

4    appeared for Defendant Lemus (02) on March 4, 2021. ECF No. 37. An order

5    appointing Gregory L. Scott to represent Defendant Lemus (02) was entered on

6    March 15, 2021. ECF No. 61. Nicholas Marchi appeared for Defendant Ard (01)

7    and Mr. Nguyen appeared for Defendant Hale (03) on March 5, 2021. ECF Nos. 44,

8    45. An order appointing Ulvar Klein to represent Defendant Ard (01) was entered

9    on March 15, 2021. ECF No. 62. A superseding indictment was filed on April 14,

10   2021. ECF No. 73. Richard A. Smith was appointed to represent Defendant

11   Campbell (04) on April 22, 2021. ECF No. 86. This is the second request for a

12   continuance in this matter.

13         To ensure defense counsel is afforded adequate time to review discovery,

14   prepare any pretrial motions, conduct investigation, and prepare for trial, the Court

15   grants the motion, extends the pretrial motion deadline, and resets the currently-

16   scheduled pretrial conference and trial dates. The Court finds that Defendants

17   continuance requests are knowing, intelligent, and voluntary. The Court finds that

18   the ends of justice served by granting a continuance outweigh the best interest of

19
     Statements of Reasons in Support of Motion to Continue with counsel’s
20   certification that Defendant has reviewed the document and consents to counsel
     signing the statement of reasons on his behalf. See ECF Nos. 121, 124 & 125.


     AMENDED CASE MANAGEMENT ORDER – 2
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1    the public and Defendants in a speedy trial. The delay resulting from Defendant

2    Hale’s (03) motion is therefore excluded under the Speedy Trial Act for all

3    Defendants.

4          Counsel are advised that all successive continuance requests will be closely

5    scrutinized for the necessity of more time to effectively prepare, taking into account

6    the exercise of due diligence.

7          Having considered the parties’ proposed case schedule and deadlines, the

8    Court now enters the following Amended Case Management Order, which sets forth

9    the deadlines, hearings, and requirements the parties will observe in this matter. To

10   the extent this Order conflicts with any previously entered Orders in this matter, this

11   Order shall govern. All counsel are expected to carefully read and abide by this

12   Order and such provisions of the current CMO which have not been superseded

13   hereby. The Court will grant relief from the requirements in this Order only upon

14   motion and good cause shown.

15         Accordingly, IT IS HEREBY ORDERED:

16         1.      Defendant Hale’s (03) Motion to Continue, ECF No. 119, is

17                 GRANTED.

18         2.      Defendant Campbell’s (04) Motion to Continue Pretrial Conference

19                 and Trial Dates and Extend Time for Filing Pretrial Motions, ECF No.

20                 122, is DENIED AS MOOT.




     AMENDED CASE MANAGEMENT ORDER – 3
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1               A.    Counsel are advised that all future motions to extend or alter

2                     case management dates or deadlines will be considered

3                     applicable to all Defendants unless an individual Defendant

4                     expresses a desire to be excluded from the motion. Thus, only

5                     statements of reasons or objections need to be filed by non-

6                     moving Defendants.

7         3.    The Court finds, given defense counsel’s need for time to review

8               discovery, prepare any pretrial motions, conduct investigation, and

9               prepare for trial, that failing to grant a continuance would result in a

10              miscarriage of justice and would deny defense counsel the reasonable

11              time necessary for effective preparation, taking into account the

12              exercise of due diligence. See 18 U.S.C. § 3161(h)(7)(B)(i),(iv). The

13              Court, therefore, finds the ends of justice served by granting a

14              continuance in this matter outweigh the best interest of the public and

15              Defendants in a speedy trial. See 18 U.S.C. § 3161(h)(7)(A).

16        4.    Original CMO. Counsel must review the provisions of the original

17              March 5, 2021 CMO, ECF No. 46 (as to Defendants Ard (01), Lemus

18              (02), and Hale (03)), and May 5, 2021 Amended CMO (as to

19              Defendant Campbell (04)), ECF No. 117, and abide by those

20              procedures which remain in full force and effect and are incorporated




     AMENDED CASE MANAGEMENT ORDER – 4
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1               herein except for the new compliance deadlines in the following

2               Summary of Amended Deadlines.

3         5.    Pretrial Conference

4               A.    The current pretrial conference date of July 29, 2021 is

5                     STRICKEN and RESET to September 23, 2021 at 9:30 A.M.

6                     in RICHLAND. At this hearing, the Court will hear ALL

7                     pretrial motions that are noted for oral argument.

8               B.    All Pretrial Conferences are scheduled to last no more than

9                     thirty (30) minutes, with each side allotted fifteen (15)

10                    minutes to present their own motions and resist motions by

11                    opposing counsel. If any party anticipates requiring longer than

12                    fifteen minutes, that party must notify the Courtroom Deputy at

13                    least seven (7) days prior to the hearing. Any party who fails

14                    to provide this notice will be limited to fifteen (15) minutes.

15        6.    Trial. The current trial date of August 23, 2021 is STRICKEN and

16              RESET to October 25, 2021, at 9:00 A.M. in RICHLAND. The final

17              pretrial conference will begin at 8:30 A.M.

18        7.    Pursuant to 18 U.S.C. § 3161(h)(7)(B)(i) and (iv), the Court

19              DECLARES EXCLUDABLE from Speedy Trial Act calculations

20              as to all Defendants the period from July 14, 2021, the date Mr.




     AMENDED CASE MANAGEMENT ORDER – 5
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1                    Nguyen moved to continue, through October 25, 2021, the new trial

2                    date, as the period of delay granted for adequate preparation by

3                    counsel.

4             8.     Summary of Deadlines

5         All pretrial motions, including discovery
          motions, Daubert motions, and motions in                    August 19, 2021
6         limine, filed
          PRETRIAL CONFERENCE                                      September 23, 2021
7         Deadline for motions to continue trial                 9:30 A.M. - RICHLAND
          CIs’ identities and willingness to be interviewed
8                                                                     October 11, 2021
          disclosed to Defendant (if applicable)
          Grand jury transcripts produced to Defendant
9                        Case Agent:                                  October 11, 2021
                         CIs:                                         October 11, 2021
10                       Other Witnesses:                             October 11, 2021
          Exhibit lists filed and emailed to the Court                October 15, 2021
11
          Witness lists filed and emailed to the Court                October 15, 2021
12        Trial briefs, jury instructions, verdict forms, and
                                                                      October 13, 2021
          requested voir dire filed and emailed to the Court
13        Exhibit binders delivered to all parties and to the
                                                                      October 13, 2021
          Court
14        Delivery of JERS-compatible digital evidence
                                                                      October 15, 2021
          files to the Courtroom Deputy
15        Trial notices filed with the Court                          October 15, 2021
          Technology readiness meeting (in-person)                    October 18, 2021
16   //
17   //
18   //
19   //
20   //



     AMENDED CASE MANAGEMENT ORDER – 6
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1                                                               October 25, 2021
      FINAL PRETRIAL CONFERENCE
                                                            8:30 A.M. - RICHLAND
2                                                               October 25, 2021
      JURY TRIAL
                                                            9:00 A.M. - RICHLAND
3
           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order and
4
     provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals
5
     Service.
6
           DATED this 21st day of July 2021.
7

8                      _________________________
                       SALVADOR MENDOZA, JR.
9                      United States District Judge

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     AMENDED CASE MANAGEMENT ORDER – 7
